       Case 2:19-cr-00008-SAB     ECF No. 76   filed 02/21/19   PageID.154 Page 1 of 4
                                                                                FILED IN THE
                                                                            U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON



                                                                       Feb 21, 2019
 1                                                                         SEAN F. MCAVOY, CLERK
                             UNITED STATES DISTRICT COURT
 2
                        EASTERN DISTRICT OF WASHINGTON
 3
 4
     UNITED STATES OF AMERICA,                      No. 2:19-CR-00008-SAB-3
 5
 6                       Plaintiff,                 ORDER GRANTING
                                                    DEFENDANT’S MOTION FOR
 7                          v.                      RECONSIDERATION OF
 8                                                  DETENTION
     SHAWNEE BIRDTAIL,
 9
                                                    MOTION GRANTED
10                       Defendant.                   (ECF No. 70)
11
                                                    USM ACTION REQUIRED
12
           Before the Court is Defendant’s Unopposed Motion for Reconsideration of
13
     Detention, ECF No. 70. Defendant recites in her motion that Pretrial Services
14
     supports release and the United States does not object provided there is satisfactory
15
     evidence no guns are in the residence where Defendant resides.
16
           Upon review of the report of Pretrial Services, ECF No. 47, and the
17
     Supplemental Report, ECF No. 69, the Court FINDS that it can fashion conditions
18
     that reasonably assure the safety of the community and Defendant’s appearance for
19
     further proceedings.
20
           Accordingly, IT IS ORDERED, that Defendant’s Motion, ECF No. 70, is
21
     GRANTED. Defendant is released subject to the following:
22
23                           STANDARD CONDITIONS OF RELEASE
24
     (1)   Defendant shall not commit any offense in violation of federal, state or local
25         law. Defendant shall advise the supervising Pretrial Services Officer and
26         defense counsel within one business day of any charge, arrest, or contact
           with law enforcement. Defendant shall not work for the United States
27
           government or any federal or state law enforcement agency, unless
28         Defendant first notifies the supervising Pretrial Services Officer in the



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 1         captioned matter.

 2   (2)   Defendant shall immediately advise the court, defense counsel and the U.S.
 3         Attorney in writing before any change in address and telephone number.
 4   (3)   Defendant shall appear at all proceedings as required and shall surrender for
 5         service of any sentence imposed as directed.
 6
     (4)   Defendant shall sign and complete A.O. Form 199C before being released
 7         and shall reside at the address furnished.
 8
     (5)   Defendant shall not possess a firearm, destructive device or other dangerous
 9         weapon.
10
     (6)   Defendant shall report to the United States Probation Office before or
11         immediately after release and shall report as often as they direct, at such
12         times and in such manner as they direct.
13
     (7)   Defendant shall contact defense counsel at least once a week.
14
15   (8)   Defendant is further advised, pursuant to 18 U.S.C. § 922(n), it is unlawful
           for any person who is under indictment for a crime punishable by
16         imprisonment for a term exceeding one year, to possess, ship or transport in
17         interstate or foreign commerce any firearm or ammunition or receive any
           firearm or ammunition which has been shipped or transported in interstate or
18         foreign commerce.
19
     (9)   Defendant shall refrain from the use or unlawful possession of a narcotic
20
           drug or other controlled substances defined in 21 U.S.C. § 802, unless
21         prescribed by a licensed medical practitioner in conformance with Federal
22         law. Defendant may not use or possess marijuana, regardless of whether
           Defendant has been authorized medical marijuana under state law.
23
24   (10) Defendant shall surrender any passport to Pretrial Services and shall not
          apply for a new passport.
25
26                    ADDITIONAL CONDITIONS OF RELEASE
27
     (14) Defendant shall remain in the Eastern District of Washington while the case
28        is pending. By timely motion clearly stating whether opposing counsel and



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 1         Pretrial Services object to the request, Defendant may be permitted to travel
           outside this geographical area.
 2
 3   (15) Avoid all contact, direct or indirect, with any persons who Defendant knows
          or would reasonably know are a victim or potential witness in the subject
 4        investigation or prosecution. Pretrial Services may but is not required to
 5        exempt specific named individuals from this prohibition, including but not
          limited to immediate family members or co-workers.
 6
 7   (16) Avoid all contact, direct or indirect, with known felons. Pretrial Services
 8        may but is not required to exempt specific named individuals from this
          prohibition, including but not limited to immediate family members or co-
 9        workers.
10
     (18) Refrain from any use of alcohol.
11
12   (20) There shall be no firearms in the home where Defendant resides.
13
              SUBSTANCE ABUSE EVALUATION AND TREATMENT
14
15         If Defendant is required to submit to a substance abuse evaluation, inpatient
     or outpatient treatment, the following shall apply:
16
17          Defendant shall complete treatment indicated by an evaluation or
     recommended by Pretrial Services and shall comply with all rules of a treatment
18   program. Defendant shall be responsible for the cost of testing, evaluation and
19   treatment, unless the United States Probation Office should determine otherwise.
     The United States Probation Office shall also determine the time and place of
20
     testing and evaluation and the scope of treatment.
21
22          Prior to commencing any evaluation or treatment program, Defendant shall
     provide waivers of confidentiality permitting the United States Probation Office
23   and the treatment provider to exchange without qualification, in any form and at
24   any time, any and all information or records related to Defendant’s conditions of
     release and supervision, and evaluation, treatment and performance in the program.
25   It shall be the responsibility of defense counsel to provide such waivers.
26          Following any evaluation or treatment ordered here, Defendant shall
     complete any recommended aftercare program.
27
28         If Defendant terminates any treatment program before it is completed,



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 1   the treatment provider and Defendant shall immediately notify the U.S.
     Probation Officer.
 2
 3          If Defendant leaves an inpatient program before treatment is
     completed, the treatment facility and Defendant shall immediately notify the
 4   U.S. Probation Officer or, if the U.S. Probation Officer is unavailable, the U.S.
 5   Marshal, who shall in turn immediately notify the undersigned. Defendant
     shall comply with all directives of the U.S. Probation Officer.
 6
 7         PROVIDED that Defendant’s treatment and release from custody is on the
 8   express condition that treatment not hinder or delay the adjudication of this case,
     and that Defendant appear in person when required regardless of treatment status,
 9   and maintain adequate contact with defense counsel.
10
     (24) Substance Abuse Evaluation: Defendant shall participate in a substance
11        abuse evaluation. Pretrial Services shall determine the evaluator and the
12        schedule.
13
     (27) Prohibited Substance Testing: If random urinalysis testing is not done
14        through a treatment program, random urinalysis testing shall be
15        conducted through Pretrial Services, and shall not exceed six (6) times
          per month. Defendant shall submit to any method of testing required by the
16        Pretrial Service Office for determining whether the Defendant is using a
17        prohibited substance. Such methods may be used with random frequency
          and include urine testing, the wearing of a sweat patch, a remote alcohol
18        testing system, and/or any form of prohibited substance screening or testing.
19        Defendant shall refrain from obstructing or attempting to obstruct or tamper,
          in any fashion, with the efficiency and accuracy of prohibited substance
20
          testing.
21
22         IT IS SO ORDERED.
23         DATED February 21, 2019.
24
25                               _____________________________________
                                           JOHN T. RODGERS
26                                UNITED STATES MAGISTRATE JUDGE
27
28



     ORDER - 4
